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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

RICHLAND/WILKIN JOINT POWERS                       Civil No. 13-2262 (JRT/LIB)
AUTHORITY,
                              Plaintiff,
and
MINNESOTA DEPARTMENT OF NATURAL
RESOURCES
                                                  MEMORANDUM OPINION
                   Intervenor-Plaintiff,              AND ORDER
v.
UNITED STATES ARMY CORPS OF
ENGINEERS,
                            Defendant,
and
FARGO-MOORHEAD FLOOD DIVERSION
BOARD OF AUTHORITY and CITY OF
OXBOW,
                        Intervenor-Defendants.



      Gerald W. Von Korff, RINKE NOONAN, P.O. Box 1497, St. Cloud, MN
      56302, for plaintiff.

      Colin Patrick O’Donovan and Max H. Kieley, Assistant Attorneys General,
      MINNESOTA ATTORNEY GENERAL’S OFFICE, 445 Minnesota
      Street, Suite 900, Saint Paul, MN 55101, for intervenor-plaintiff.

      Devon Lehman McCune, UNITED STATES DEPARTMENT OF
      JUSTICE, 999 18th Street, South Terrace, Suite 370, Denver, CO 80202,
      for defendant.

      Robert E. Cattanach and Michael R. Drysdale, DORSEY & WHITNEY
      LLP, 50 South Sixth Street, Suite 1500, Minneapolis, MN 55402, for
      intervenor-defendant Fargo-Moorhead Flood Diversion Board of Authority.




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      Joseph A. Turman, TURMAN & LANG, LTD, P.O. Box 110, Fargo, ND
      58107, for intervenor-defendant City of Oxbow.


       This case relates to a proposed flood diversion project to reduce flood risk on the

Red River of the North, which straddles the border of Minnesota and North Dakota (“the

Project”). Plaintiff Richland/Wilkin Joint Powers Authority (“JPA”) moves to reinstate

certain previously-dismissed claims and reinstate the U.S. Army Corps of Engineers (“the

Corps”) as an active defendant, under Rule 54(b) of the Federal Rules of Civil Procedure.

JPA also moves to supplement the pleadings under Rule 15(d) of the Federal Rules of

Civil Procedure.    Intervenor-Plaintiff Minnesota Department of Natural Resources

(“MDNR”) supports JPA’s motion.           The Corps and Intervenor-Defendant Fargo-

Moorhead Diversion Board of Authority (“the Authority”) oppose the motion.

       For the reasons set forth below, the Court will grant JPA’s motion to reinstate

JPA’s claim under the National Environmental Policy Act (“NEPA”) against the Corps

and reinstate the Corps as an active defendant. The Court will, further, grant JPA’s

motion for leave to supplement the Third Amended Complaint. Both JPA and MDNR

shall file any supplemental pleadings within four weeks of the date of this order. In light

of these decisions, the Court will dismiss without prejudice the outstanding motions for

summary judgment with the exception of the motion filed by Intervenor-Defendant City

of Oxbow (“Oxbow”) to lift the preliminary injunction. The Court will file a subsequent

order in response to Oxbow’s motion to lift the preliminary injunction.




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                                     DISCUSSION

I.     MOTION TO REINSTATE

       JPA moves the Court to reinstate: (1) the Corps as a defendant; (2) the Third

Amended Complaint’s NEPA claim against both the Corps and the Authority found in

Counts I and II of the Third Amended Complaint; and (3) the state and local permitting

law claim found in Count V of the Third Amended Complaint against the Authority. The

Court previously granted a motion for summary judgment on JPA’s NEPA claim and

dismissed the claim with prejudice on March 31, 2016, concurrently dismissing the Corps

from the case. With regard to the state and local permitting law claim, the Court granted

a motion to dismiss the claim without prejudice on May 13, 2015.

       Rule 54(b) provides that “any order . . . that adjudicates fewer than all the claims

. . . does not end the action” and the Court may revise a previous order “at any time

before the entry of a judgment adjudicating all the claims and all the parties’ rights and

liabilities.” Here, in previously dismissing Counts I, II, and V, the Court dismissed some,

but not all, of the claims in this action. Thus, the Court retains discretion to revise its

previous order. See United States v. Arkansas, 791 F.2d 1573, 1576 (8th Cir. 1986)

(holding a district court had authority to reinstate a party under Rule 54(b) after seven

years of subsequent litigation because a final judgment had not occurred).

      In this case, significant factual circumstances have changed since the Court

granted the Corps’ motion for summary judgment on JPA’s NEPA claims. Specifically,

the Authority and the Corps executed the binding Project Partnership Agreement (“PPA”)

setting forth the obligations of the parties during the construction and operation of the


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Project. Further, MDNR denied a permit regarding the Project and, in spite of that denial

and, arguably, without analysis of MDNR’s reasoning, both the Authority and the Corps

expressed intent to continue construction. Under these changed circumstances and since

the MDNR recently joined the litigation, the Court finds it necessary to revise its March

2016 order granting summary judgment on JPA’s NEPA claim. The Court, therefore,

reinstates the Corps as an active defendant in this litigation.

       With regard to the NEPA claim against the Authority, however, the Court will

deny the motion. The Court granted the Authority’s motion for summary judgment on

the NEPA claim on the grounds that NEPA “generally appl[ies] only to the actions of

‘agencies and the federal government.’” (Mem. Op. & Order on Cross Mots. for Summ.

J. at 23-24, Mar. 31, 2016, Docket No. 320 (citing 42 U.S.C. § 4332).) At the hearing on

this motion, JPA did not contest the Court’s analysis of the NEPA claim as to the

Authority. The Court, therefore, will deny JPA’s motion to reinstate the NEPA claim as

to the Authority.

       Finally, JPA asks the Court to reinstate its claim against the Authority relating to

state and local permitting law. As the Court dismissed this claim without prejudice, the

Court will deny the motion to reinstate the claim under Rule 54(b), but the Court will

permit JPA to reallege this claim as part of the Rule 15(d) motion to supplement the

pleadings.




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II.    MOTION TO SUPPLEMENT THE PLEADINGS

       JPA also moves the Court to supplement the pleadings. Rule 15(d) provides that

“the [C]ourt may, on just terms, permit a party to serve a supplemental pleading setting

out any transaction, occurrence, or event that happened after the date of the pleading to

be supplemented.” Both JPA and MDNR set forth numerous changed circumstances

succeeding the Third Amended Complaint that warrant supplementation under Rule

15(d). As set forth above, important facts include: the Corps and the Authority signed

the PPA, MDNR denied a permit related to the Project and, in spite of that denial, both

the Authority and the Corps expressed intent to continue construction. Based on these

and other relevant facts, the Court will permit JPA and MDNR to file supplemental

pleadings, including, but not limited to, claims for: (1) violation of NEPA; (2) violation

of state and local permitting laws (previously Count V); and (3) violation of the Water

Resources Reform and Development Act, 33 U.S.C. § 2231 et seq. JPA and MDNR are

directed to file any such supplemental pleading within four weeks of this order.


III.   MOTIONS FOR SUMMARY JUDGMENT AND MOTION TO LIFT
       PRELIMINARY INJUNCTION

       In light of the Court’s decisions to (1) grant MDNR’s motion to intervene;

(2) grant JPA’s motion reinstate the Corps as an active defendant; and (3) permit MDNR

and JPA to supplement the pleadings, the Court will deny the outstanding summary

judgment motion without prejudice, with the exception of Oxbow’s motion to lift the

preliminary injunction.

       The Court intends to move this case along as expeditiously as possible.


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                                            ORDER

     Based on the foregoing, and the records, files, and proceedings herein, IT IS

HEREBY ORDERED that:

      1.       Plaintiff Richland/Wilkin Joint Powers Authority’s Motion to Reinstate the

U.S. Army Corps of Engineers as an Active Defendant and to Supplement the Pleadings

[Docket No. 344] is GRANTED in part and DENIED in part as follows:

               a.    The motion is GRANTED as to reinstatement of the U.S. Army

      Corps of Engineers as an active defendant and as to reinstatement of the NEPA

      claim against the U.S. Army Corps of Engineers.

               b.    The motion is DENIED as to the reinstatement of the NEPA claim

      against the Fargo-Moorhead Flood Diversion Board of Authority.

               c.    The motion is DENIED as to the reinstatement of the state and local

      permitting law claim against the Fargo-Moorhead Flood Diversion Board of

      Authority.

               d.    The motion is GRANTED as to leave for Richland/Wilkin Joint

      Powers Authority and the Minnesota Department of Natural Resources to file

      supplemental pleadings. Any supplemental pleadings shall be filed within four (4)

      weeks from the date of this Order.


      2.       Richland/Wilkin Joint Powers Authority’s Motion for Partial Summary

Judgment [Docket No. 341] is DENIED and DISMISSED without prejudice.




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      3.       Fargo-Moorhead Flood Diversion Board of Authority’s Motion for

Summary Judgment [Docket No. 351] is DENIED and DISMISSED without prejudice.


      4.       The City of Oxbow’s Motion for Summary Judgment and to Lift the

Preliminary Injunction [Docket No. 365] is DENIED in part, as follows:

               a.    The motion is DENIED as to City of Oxbow’s request for summary

      judgment. This portion of the motion is DISMISSED without prejudice.

               b.    The Court declines to resolve at this time the portion of the motion

      requesting the lifting of the preliminary injunction. The parties are ordered to

      meet with the Magistrate Judge within two (2) weeks after the supplemental

      pleadings are filed and discuss whether they can stipulate that, although the

      Oxbow, Hickson, and Bakke ring levee is part of the Project, the ring levee has

      independent significance to provide immediate flood protection such that the

      preliminary injunction can be lifted.


      5.       The parties are ordered, after the supplemental pleadings are filed, to meet

with the Magistrate Judge and establish an expedited schedule for any necessary

discovery and any anticipated motions.


DATED: February 24, 2017                            ____s/                      ____
at Minneapolis, Minnesota.                               JOHN R. TUNHEIM
                                                              Chief Judge
                                                       United States District Court




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